
      1
    2024 CO 50 The People of the State of Colorado, Petitioner  v.  Matthew Rodolfo Vansant Lopez, Respondent No. 22SC759Supreme Court of Colorado, En BancAugust 19, 2024
 
 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
 Certiorari to the Colorado Court of Appeals Court of Appeals
 Case No. 19CA287
 
 
 
 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
 for Rehearing DENIED.
 